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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
v.                                               §         Case Number: 3:19-CR-00083-M(01)
                                                 §
RUEL M HAMILTON (01),                            §
                                                 §
        Defendant.                               §
                                                 §

                                  TRIAL SETTING ORDER

        This case is set for Jury Trial on July 22, 2019 at 9:00 a.m., and a Pretrial Conference is

set for July 22, 2019 at 8:30 a.m., to be held prior to the commencement of trial.

        Pretrial motions, if any, must be filed June 25, 2019, and responses thereto, by July 2,

2019.

        Initial Designation of Experts: Unless otherwise stipulated or directed by Order, any

party with the burden of proof on an issue shall file a written designation of the name and

address of each expert witness who will testify at June 25, 2019.

        Responsive Designation of Experts: Any party without the burden of proof on an issue

but who wishes to utilize an expert witness shall file a written designation of the name and

address of each expert witness who will testify at trial for that party on such issue(s) and shall

otherwise comply with Rule 16(a)(1)(G) on or before July 2, 2019.

        Objections to Experts:     Objections to the qualifications or competency of experts,

sometimes referred to as Daubert motions, must be made in a written motion filed no later than

July 9, 2019.

        Motions for Continuance: Any motions for continuance will be filed by July 9, 2019

and reflect a meaningful conference between the parties regarding whether the motion is

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opposed. If the defendant files for a continuance of the trial date, he and his counsel must

sign and file with the Court a document entitled “Acknowledgment” which must state that

the defendant understands he will not be going to trial within the speedy trial deadline. A

sample acknowledgment can be provided to the parties by the Court Coordinator upon

request.

       Requested voir dire questions, proposed jury instructions (both e-filed and emailed in

“Word” format to the email address lynn_orders@txnd.uscourts.gov), witness lists (with

witnesses designated as “custodial”, “expert”, or “fact”, as well as “probable” or “possible”),

exhibit lists (with copies of exhibits furnished to the Court and opposing parties), and motions in

limine must be filed no later than July 16, 2019. The list of exhibits shall describe the documents

or items in numbered sequence. The documents or items to be offered as exhibits shall be

numbered by attachment of gummed labels to correspond with the sequence on the exhibit list.

In addition, counsel for each party intending to offer exhibits shall exchange a set of marked

exhibits with opposing counsel and shall deliver a set of marked exhibits to the Court’s

chambers (except large or voluminous items that cannot be easily reproduced). Exhibits are to

be placed in three-ring binders, including numbered tabs, and each binder is to be labeled with

the style of the case, case number, name of the party, and volume number of the binder. Do not

use letter suffixes to identify exhibits (e.g., designate them as 1, 2, 3, not as 1A, 1B, 1C). A

copy of the exhibit list must be furnished to the court reporter prior to trial. Counsel for the

parties shall be prepared to submit to the jury, to accompany all exhibits that have been admitted,

an index of such exhibits, with neutral descriptions of the exhibits, including where possible the

author and date of each. During trial, witnesses are to be called by their last, not first, names.




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         Unless agreed otherwise, Judge Lynn enforces the rule of limited cross examination at

trial.   Redirects and recrosses are limited to the subject of the immediately preceding

examination. Each party is responsible for keeping track of which exhibits are admitted

during trial, to confer with opposing counsel on a consolidated list, and to submit it as a

table of contents to accompany the exhibits to the jury room and to file of record in the

case. If the parties have electronic evidence they intend to admit as exhibits and send back to

the jury room, the parties need to bring the necessary equipment to play it in the jury room. If the

documentary exhibits offered by the parties during trial are more than 15 pages, those exhibits

shall be submitted to the Court Coordinator on CD at the conclusion of the trial.

         The courtroom in which this case will be tried, and in which any motion that is set for

hearing will be heard, has electronic equipment to assist in the expeditious presentation of the

case and making of the record. Description of this equipment and training resources for lawyers

are available on the Court’s website, http://www.txnd.uscourts.gov/judge-lynns-courtroom.

         If the government intends to call as witnesses persons who are under indictment but who

have not been found guilty by the District Court where the indictment is pending, or if the

government has reason to believe that it will ask questions of a witness, the answer to which may

tend to incriminate the witness, and immunity has not been extended, the Assistant United States

Attorney trying the case shall advise the Court of that fact before the witness testifies.

         All counsel are directed to advise the Court at least four (4) days before trial, if a plea

agreement has been reached.         If such an agreement has been reached, except in unusual

circumstances where such cannot reasonably be done, counsel are to furnish an executed copy to

the Court at least three (3) days before trial.




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       Counsel should be mindful that a last-minute trial cancellation inconveniences all the

citizens who have come to serve as jurors and wastes taxpayer money. To avoid such a

cancellation, counsel should complete plea negotiations prior to the date scheduled for trial.

       Additionally, counsel for the defendant should ensure that the defendant has appropriate

court attire to wear on the day of trial. If the defendant is incarcerated, defense counsel should

ensure that appropriate court attire is either transported with the defendant from the prison

facility or that such attire is made available to the defendant at the Marshals Service office.



       SO ORDERED.

       May 14, 2019.



                                               ___________________________________
                                               BARBARA M. G. LYNN
                                               CHIEF JUDGE




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